911 F.2d 724Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Anthony Ray SOLOMON, Plaintiff-Appellant,v.Captain McCABE, Lieutenant Byrd, Lieutenant Hodge,Lieutenant Askew, Lieutenant Carroll, OfficerSutton, Defendants-Appellees.
    No. 90-6073.
    United States Court of Appeals, Fourth Circuit.
    Submitted July 9, 1990.Decided July 23, 1990.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  Franklin T. Dupree, Jr., Senior District Judge.  (C/A No. 88-877-CRT)
      Anthony Ray Solomon, appellant pro se.
      Valerie Bateman, Office of the Attorney General of North Carolina, Raleigh, N.C., for appellees.
      E.D.N.C.
      AFFIRMED.
      Before SPROUSE and WILKINS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Anthony Ray Solomon appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Solomon v. McCabe, C/A No. 88-877-CRT (E.D.N.C. Apr. 23, 1990).
    
    
      2
      We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      3
      AFFIRMED.
    
    